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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 In Re:                                            Case No. 19-02621-JMC-7

 Christopher Shane Carpenter
 Amanda Lynn Carpenter                             Chapter 7
  aka Amanda Dean

 Debtor(s).                                        Judge James M. Carr

                                  NOTICE OF APPEARANCE

          Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.

Bankruptcy Court, Southern District of Indiana, and enters an appearance on behalf of Home

Point Financial Corporation, in the above captioned proceedings.

                                                   Respectfully Submitted,

                                                   /s/ Molly Slutsky Simons
                                                   Molly Slutsky Simons (OH 0083702)
                                                   Sottile & Barile, Attorneys at Law
                                                   P.O. Box 476
                                                   Loveland, OH 45140
                                                   Phone: 513.444.4100
                                                   Email: bankruptcy@sottileandbarile.com
                                                   Attorney for Creditor

                                 CERTIFICATE OF SERVICE

I certify that on April 25, 2019, a copy of the foregoing Notice was filed electronically. Notice of
this filing will be sent to the following party/parties through the Court’s ECF System.
Party/parties may access this filing through the Court’s system:

          Mark S. Zuckerberg, Debtors’ Counsel
          filings@mszlaw.com

          George K. Silver, Trustee
          trusteegksilver@yahoo.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov
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I further certify that on April 25, 2019, a copy of the foregoing Notice was mailed by first-class
U.S. Mail, postage prepaid and properly addressed to the following:

       Christopher Shane Carpenter, Debtor
       2 W. Bunkerhill Road
       Mooresville, IN 46158

       Amanda Lynn Carpenter, Debtor
       2 W. Bunkerhill Road
       Mooresville, IN 46158
                                                   /s/ Molly Slutsky Simons
                                                   Molly Slutsky Simons (OH 0083702)
                                                   Attorney for Creditor
